
614 S.E.2d 531 (2005)
359 N.C. 625
Wendy WHITT
v.
HARRIS TEETER, INC. and Randy Shultz.
No. 416A04.
Supreme Court of North Carolina.
July 1, 2005.
Kennedy, Kennedy, Kennedy and Kennedy, L.L.P., by Harvey L. Kennedy, Harold L. Kennedy, III, and Annie Brown Kennedy, Winston-Salem, for plaintiff-appellee.
Womble Carlyle Sandridge &amp; Rice, by Lucretia D. Guia, Winston-Salem, and J. Mark Sampson, Greensboro, for defendant-appellant Harris Teeter, Inc.
Patterson Harkavy, L.L.P., by Burton Craige, Raleigh, for North Carolina Association of Women Attorneys, North Carolina Academy of Trial Lawyers, Southern States Police Benevolent Association, Inc., North Carolina Police Benevolent Association, Inc., and North Carolina Association of Educators; Suzanne Reynolds, Winston_Salem, for North Carolina Association of Women Attorneys, and Charles E. Daye, Chapel, for North Carolina Academy of Trial Lawyers, amici curiae.
*532 PER CURIAM.
For the reasons stated in the dissenting opinion, the decision of the Court of Appeals is reversed.
REVERSED.
